                                            Case 5:24-cv-00564-VKD Document 5 Filed 02/01/24 Page 1 of 2




                                   1

                                   2

                                   3

                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

                                   6                                          SAN JOSE DIVISION

                                   7

                                   8       BYRON H.E.,                                      Case No. 24-cv-00564-VKD
                                                         Plaintiff,
                                   9
                                                                                            ORDER TO SHOW CAUSE
                                                 v.
                                  10

                                  11       MOISES BECERRA, et al.,
                                                         Defendants.
                                  12
Northern District of California
 United States District Court




                                  13

                                  14           Petitioner Byron H.E.1 is a 53-year old citizen of Guatemala, who immigrated to the

                                  15   United States around 1985 when he was a teenager. Dkt. No. 1. According to his petition for a

                                  16   writ of habeas corpus, he has been detained by Immigration and Customs Enforcement, pending

                                  17   removal proceedings, at the Golden State Annex facility in McFarland, California, for over 24

                                  18   months. Id. Mr. H.E. requests that the Court issue a writ of habeas corpus pursuant to 28 U.S.C.

                                  19   § 2241 ordering his release from physical custody; or in the alternative, ordering respondents to

                                  20   hold a bond hearing. Id.

                                  21           The Court may entertain a petition for writ of habeas corpus from a person claiming to be

                                  22   “in custody in violation of the Constitution or laws or treaties of the United States.” 28 U.S.C.

                                  23   § 2241(c)(3). A district court considering an application for a writ of habeas corpus shall “award

                                  24   the writ or issue an order directing the respondent to show cause why the writ should not be

                                  25   granted, unless it appears from the application that the applicant or person detained is not entitled

                                  26
                                  27   1
                                        This Court partially redacts petitioner’s name to mitigate privacy concerns, as suggested by the
                                  28   Committee on Court Administration and Case Management of the Judicial Conference of the
                                       United States.
                                           Case 5:24-cv-00564-VKD Document 5 Filed 02/01/24 Page 2 of 2




                                   1   thereto.” 28 U.S.C. § 2243. Mr. H.E. alleges that his detention has been unreasonably prolonged

                                   2   and violates his constitutional rights. Liberally construed, the petition states cognizable claims.

                                   3          Accordingly, the Court orders as follows:

                                   4          1. The Clerk shall electronically serve a copy of this order upon respondents and

                                   5   respondents’ attorneys, the United States Attorney for the Northern District of California, at the

                                   6   following email addresses: (1) usacan.ecf@usdoj.gov; (2) michelle.lo@usdoj.gov; and

                                   7   (3) kathy.terry@usdoj.gov. The petition and the exhibits thereto are available via the Electronic

                                   8   Case Filing System for the Northern District of California.

                                   9          2. By February 20, 2024, respondents shall file an answer responding to the allegations

                                  10   of Mr. H.E.’s petition and showing cause why a writ of habeas corpus should not be issued.

                                  11   Respondents must file with the answer a copy of all documents that are relevant to a determination

                                  12   of the issues presented by the petition.
Northern District of California
 United States District Court




                                  13          3. If Mr. H.E. wishes to respond to the answer, he must do so by filing a traverse by

                                  14   February 27, 2024.

                                  15          4. The parties may propose changes to this schedule by submitting a stipulation and

                                  16   proposed order. If they have disagreements about scheduling, the parties may submit a joint

                                  17   statement briefly identifying the parties’ respective positions.

                                  18          IT IS SO ORDERED.

                                  19   Dated: February 1, 2024

                                  20
                                                                                                     Virginia K. DeMarchi
                                  21                                                                 United States Magistrate Judge
                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
                                                                                          2
